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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  FINANCIAL TECHNOLOGY
  ASSOCIATION,

                         Plaintiff,

  v.
                                                       Case No. 1:24-cv-2966-ACR
  CONSUMER FINANCIAL PROTECTION
  BUREAU; and RUSSELL VOUGHT, in his
  official capacity as Acting Director of the
  Consumer Financial Protection Bureau,

                         Defendants.



              [PROPOSED] ORDER GRANTING JOINT MOTION TO STAY


       The Court hereby GRANTS the Joint Motion to Stay. Accordingly, this action is

STAYED until the Consumer Financial Protection Bureau revokes the interpretive rule

challenged by Plaintiff in this action, Truth in Lending (Regulation Z); Use of Digital User

Accounts to Access Buy Now, Pay Later Loans, 89 Fed. Reg. 47,068 (May 31, 2024).

       Defendants are further ORDERED to submit a status report by June 2, 2025, and every

30 days thereafter, regarding the Bureau’s progress toward revocation of the Interpretive Rule.



       It is so ORDERED.




Dated: ___________, 2025                                    __________________________
                                                            The Honorable Ana C. Reyes
                                                            United States District Judge



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